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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION

CARLTON LEE MCALISTER )
Plaintiff )
)

v. ) No: 1-05-1093 T/An
)
CARROLL COUNTY GOVERNMENT )
AND JOHN DOE 1-10 )
Defendants )

 

PRG'P@S'EB RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Scheduling conference set by Written notice, the following dates are established as the
fmal dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)):

September 13, 2005

JOINING PARTIES:

For Plaintiff: October 28, 2005
For Defendant: November 28, 2005

AMENDING PLEADINGS

For Plainliff: October 28, 2005
F or Defendant: November 28, 2005

COMPLETING ALL DISCOVERY: Ma.rch 29, 2006

(a) REQUESTS FOR PROI)UCTION, INTERROGATORIES and REQUESTS
FOR ADMISSIONS: Maroh 29, 2006

(b) EXPERT DISCLOSURE (RULE 26(a)(2)):
(i) Plaintiff’ s Experts: January 27, 2006
(ii) Defendant’s Experts: February 27, 2006
(iii) Supplementation under Rule 26(e)(2): 10 days after Defendant’s disclosure
This document entered on the docket sheet In comp"a“¢a
with nme 53 and,'orya (a) FHCP on 0

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FILING DISPOSITIVE MOTIONS: April l3, 2006
FINAL LIST OF WTINESSES AND EXHIBITS (Rule 26(3)(3)):
(a) for Plaintit`f: May 26, 2006
(b) t`or Defendant: June 12, 2006
Parties shall have _1_0 days after Service of final lists of` witnesses and exhibits to file objections

under Rule 26 (a)(3).
The trial of this matter is expected to last _3_ days and is SET for TRIAL on Wednesday, July
12, 2006 at 9:30 A.M. A proposed pre-trial order is due on Friday, June 30, 2006. In the event the parties
are unable to agree on a joint pre-trial order, the parties must notify the court at least ten days before trial.
OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to the
opposing party in sufficient time for the opposing party to respond by the deadline for completion of
discovery For example, if the FRCP allow 30 days for a party to respond, then the discovery must be

submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or Within 30 days
of the default or service of the response, answer, or objection which is the subject of the motion if the
default occurs within 30 days of the discovery deadline, unless the time for filing of such motion is

extended for good cause shown, or any objection to the default, response, or answer shall be waived

The parties are reminded that pursuant to Local Rule 7(a)(l )(A) and (a)( 1 )(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and a

Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may file an
additional reply, however, without leave of the court. If a party believes that a reply is necessary, it shall
file a motion for leave to file a reply accompanied by a memorandum setting forth the reasons f`or which a

reply is required

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Cai‘laielp?irtigs may consent to trial before the Magistrate Judge. The Magistrate Judge can normally

provide the parties with a definite trial date that will not be continued unless a continuance is agreed to by

all parties, or an emergency arises which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private mediation on

or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice. Absent good

cause shown, the scheduling dates set by this Order will not be modified or extended

IT IS SO ORDERED.

<S Tamm @.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

Date: 25 ZDQ(

Case 1:05-cv-01093-.]DT-STA Document 14 Filed 08/29/05 Page 4 of 5 Page|D 14

APPROVED FOR ENTRY:

BY: i/'/;/{L,,,.,/( L[/W/J,,L L\/ jay KM[ wo/j@¢»m-'§;.;')\,
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on A. ork (#023106)
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CERTIFICATE OF SERVICE
This is to certify that l have served a copy of this pleading or paper personally or by mail upon

each attorney or firm of attorneys appearing of record for each adverse party or each pro se party on or
before the filing date thereofl

DATED; rhisthe Zg day ofAugust, 2005.

PENTECOST, GLENN & RUDD, PLLC

 
  

By: (r>v

Ja ed I. most (#011640)
J n . rk (#023106)
A torneys for Defendants

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:05-CV-01093 was distributed by fax, mail, or direct printing on
August 30, 2005 to the parties listed

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

